       Case 1:17-cv-12288-GAO Document 79 Filed 04/30/19 Page 1 of 20



                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS
__________________________________________
In re:                                           )
OCULAR THERAPEUTIX, INC.                         )    Civil Action No. 17-12288-GAO
SECURITIES LITIGATION                            )
__________________________________________)                  CONSOLIDATED
THOMAS GALLAGHER, individually and on            )
behalf of all others similarly situated,         )    Civil Action No. 17-12288-GAO
                                Plaintiff,       )
                                                 )
v.                                               )
                                                 )
OCULAR THERAPEUTIX, INC., et al.,                )
                                Defendants.      )
__________________________________________)
__________________________________________
DYLAN CARAKER, individually and on               )
behalf of all others similarly situated,         )    Civil Action No. 17-12146-GAO
                                Plaintiff,       )
                                                 )
v.                                               )
                                                 )
OCULAR THERAPEUTIX, INC., et al.,                )
                                Defendants.      )
__________________________________________)
__________________________________________
SHAWNA Kim, individually and on                  )
behalf of all others similarly situated,         )    Civil Action No. 17-12286-GAO
                                Plaintiff,       )
                                                 )
v.                                               )
                                                 )
OCULAR THERAPEUTIX, INC., et al.,                )
                                Defendants.      )
__________________________________________)
        Case 1:17-cv-12288-GAO Document 79 Filed 04/30/19 Page 2 of 20



                                    OPINION AND ORDER
                                        April 30, 2019

O’TOOLE, D.J.

       Lead plaintiffs 1 bring this securities fraud action against Ocular Therapeutix, Inc. and

executives Amarpreet Sawhney and Eric Ankerud (the “Individual Defendants”), for themselves

and on behalf of all other investors who purchased or otherwise acquired Ocular securities between

March 10, 2016, and July 11, 2017. 2 The two-count Consolidated Amended Class Action

Complaint alleges violations of (1) Section 10(b) of the Securities Exchange Act of 1934 and

Securities and Exchange Commission (“SEC”) Rule 10b-5 against all defendants, and (2) Section

20(a) of the Exchange Act against the Individual Defendants. Before the Court is the defendants’

motion to dismiss pursuant to Federal Rules of Civil Procedure 12(b)(6) and 9(b), the Exchange

Act, and the Private Securities Litigation Reform Act (“PSLRA”).

I.     Background

       A.      Ocular’s Business and September 2015 New Drug Application

       Ocular is a Massachusetts-based biopharmaceutical company that focuses on the

development and commercialization of therapies for diseases and conditions of the eye. In

September 2015, Ocular submitted a New Drug Application (“NDA”) to the Food and Drug

Administration seeking approval to market its drug candidate Dextenza for the treatment of post-




1
  In March 2018, the Court appointed the group consisting of William L. Stephens, Kavita Mehta,
and Oleg Tkalych (collectively, the “Ocular Investor Group”), and Khaled Ramadan as lead
plaintiffs and consolidated Gallagher v. Ocular Therapeutix, Inc., No. 17-cv-12288-GAO, Caraker
v. Ocular Therapeutix, Inc., No. 17-cv-12146-GAO, and Kim v. Ocular Therapeutix, Inc., 17-cv-
12286-GAO, into In re Ocular Therapeutix, Inc. Securities Litigation, 17-cv-12288-GAO. (Order
Consolidating Related Actions 2–4 (dkt. no. 62).)
2
   The plaintiffs also brought suit against Andrew Hurley and George V. Migausky, but now
concede the claims against them should be dismissed. (Pls.’ Mem. of Law in Opp’n (“Pls.’ Opp’n”)
1 n.2 (dkt. no. 69).)
                                                    2
         Case 1:17-cv-12288-GAO Document 79 Filed 04/30/19 Page 3 of 20



surgical ocular pain and inflammation in human patients. Dextenza is a medical implant (a “plug”)

designed to be inserted into the canaliculi (ducts) of the eyes (i.e., an “intracanalicular insert”).

After insertion, the product releases its active pharmaceutical ingredient in Ocular’s proprietary

“hydrogel” onto the surface of the eye. The hydrogel is designed to provide sustained delivery of

its active ingredient to the eye and to act as an ocular tissue sealant.

        The FDA accepted Ocular’s NDA for filing and established July 24, 2016 as a target date

for action on the application under the Prescription Drug User Fee Act (“PDUFA”). In February

2016, as part of its ongoing review of Ocular’s NDA for Dextenza, the FDA conducted a pre-

approval inspection of the Company’s manufacturing operations in Bedford, Massachusetts.

Thereafter, the inspector issued a “Form 483” letter to the Company on February 11, 2016

(“February 2016 Form 483”), identifying “observations” from the inspection process related to

record keeping, non-representative samples, control procedures, timing, laboratory controls,

personnel, and building conditions, among other matters. (Consolidated Am. Class Action Compl.

(“Compl.”) ¶¶ 33–39 (dkt. no. 63); Decl. of Peter J. Kolovos (“Second Kolovos Decl.”), Ex. A at

2–9, Oct. 4, 2018 (dkt. no. 71-1).)

        On March 10, 2016, Ocular filed with the SEC its Annual Report on Form 10-K for the

year 2015 (the “2016 Form 10-K”). Although Ocular had received the February 2016 Form 483

containing concerning inspectional observations, Ocular stated on the 2016 Form 10-K: “We

fabricate devices and drug depot products for use in our clinical trials, research and development

and commercial efforts for all of our therapeutic product candidates using current good

manufacturing practices, or cGMP, at our multiproduct facility located in Bedford,

Massachusetts.” (Compl. ¶ 42; Decl. of Peter J. Kolovos (“Kolovos Decl.”), Ex. A at 54, July 6,

2018 (dkt. no. 68-1).) It also disclosed its receipt of the February 2016 Form 483 in a way the



                                                       3
         Case 1:17-cv-12288-GAO Document 79 Filed 04/30/19 Page 4 of 20



plaintiffs contend downplayed the extent and significance of the inspectional observations that

Ocular had received:

        [I]n February 2016, as part of the ongoing review of our NDA for DEXTENZA,
        the FDA conducted a pre-NDA approval inspection of our manufacturing
        operations. As a result of this inspection, we received an FDA Form 483 containing
        inspectional observations focused on process controls, analytical testing and
        physical security procedures related to manufacture of our drug product for stability
        and commercial production purposes. We addressed some observations before the
        inspection was closed and have responded to the FDA with a corrective action plan
        to complete the inspection process. . . . Any failure to comply with applicable
        regulations may result in fines and civil penalties, suspension of production,
        product seizure or recall, imposition of a consent decree, or withdrawal of product
        approval, and would limit the availability of [our product] and our product
        candidates that we manufacture. The failure to resolve the Form 483 inspectional
        observations from the February 2016 inspection could result in a delay in the
        PDUFA date and potential approval for the NDA we have filed for DEXTENZA
        for the treatment of post-surgical ocular pain.

(Compl. ¶ 43; Kolovos Decl., Ex. A at 93.)

        In July 2016, Ocular received a Complete Rejection Letter (“2016 CRL”) from the FDA

rejecting Ocular’s Dextenza NDA in its then-present form. The Company did not make the 2016

CRL itself public, but on July 25, 2016, it issued a press release regarding its receipt, stating that

“[t]he concerns raised by the FDA pertain to deficiencies in manufacturing process and controls

identified during a pre-NDA approval inspection of the Ocular Therapeutix manufacturing

facility.” (Compl. ¶ 45; Kolovos Decl., Ex. B at 2 (dkt. no. 68-2).)

        That same day, Ocular’s share price fell $.75, or 14.51%, to close at $4.42.

        On November 9, 2016, the Company held an earnings conference call with investors,

during which defendant Sawhney, Ocular’s Chief Executive Officer, Chairman, and President,

stated in part:

        I am pleased to report that we have had productive discussions with the FDA over
        the past several months. We believe we have taken the appropriate steps to address
        the manufacturing related items raised by the FDA, although the FDA will make
        its determination after we resubmit our NDA. As a reminder, in July we received a
        CRL, or complete response letter, relating to certain manufacturing processes on
                                                      4
           Case 1:17-cv-12288-GAO Document 79 Filed 04/30/19 Page 5 of 20



          control deficiencies, and subsequently received a letter from the New England
          district office providing additional details as to the outstanding deficiencies related
          to their pre-NDA approval inspection of the Ocular Therapeutix manufacturing
          facility.

          Among these was an observation related to the proposed process for identifying
          identity testing of an incoming inert gas component used in the DEXTENZA
          manufacturing process. The district office letter also requested that we submit a
          formal report providing evidence that migration to automatic integration of
          analytical testing has been completed.

(Compl. ¶ 69 (emphasis in original); accord Kolovos Decl., Ex. G at 3 (dkt. no. 68-7).) He also

stated:

          But whether or not re-inspection is required, is a determination that [the FDA’s
          Center for Drug Evaluation and Research] will make. And they just said that we’ll
          get back to you in 30 days after your resubmission to inform you. That’s so—we
          really can’t get more guidance or can’t give more guidance on that. I think it’s
          important to realize that this is a matter of when not if type of a thing, we’ve
          adequately we think addressed the issues that they’ve raised. And communicated
          our plans to them and they seem in broad agreement with the plans that we have
          communicated.

          But until they kind of review the resubmission, they will not be in a position of
          giving any further guidance. So, when we do that, let’s say that that were by the
          end of the year December we submit. In January they would let us know whether
          it’s one more month left or five more months left.

(Compl. ¶ 71 (emphasis in original); accord Kolovos Decl., Ex. G at 10.)

          B.     Ocular’s January 2017 NDA

          On January 23, 2017, Ocular announced it had resubmitted its NDA for Dextenza. 3 On

February 22, 2017, Ocular announced the FDA had accepted its NDA resubmission with a PDUFA

date of July 19, 2017.




3
  A confidential witness employed by Ocular as a Regulatory Affairs Project Manager from
November 1, 2016 to the end of February or early March 2017 spoke to Ankerud in “late 2016 or
early 2017” before Ocular resubmitted its NDA and reports that Ankerud allegedly acknowledged
that they would be including batch records in the NDA resubmission that would not meet FDA
standards. (Compl. ¶ 46.)
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         Case 1:17-cv-12288-GAO Document 79 Filed 04/30/19 Page 6 of 20



       On March 10, 2017, Ocular filed its Annual Report on Form 10-K (the “2017 Form 10-

K”). The Company repeated the statement from its 2016 Form 10-K regarding cGMP, stating: “We

fabricate devices and drug depot products for use in our clinical trials, research and development

and commercial efforts for all of our therapeutic product candidates using current good

manufacturing practices, or cGMP, at our multiproduct facility located in Bedford,

Massachusetts.” (Compl. ¶ 73; Kolovos Decl., Ex. H at 92 (dkt. no. 68-8).)

       The FDA made additional visits to Ocular’s manufacturing facilities to reinspect the

facilities as part of its review of Ocular’s NDA for Dextenza in April and May 2017. On May 4,

2017, the FDA issued another Form 483 letter (“May 2017 Form 483”), identifying six

inspectional observations, including written records of investigations into the nature of particulate

matter which had been found in the drug product, written production and process control

procedures, written control unit responsibilities and procedures, laboratory controls, and training.

(Compl. ¶ 50–56; Kolovos Decl., Ex. E at 2–6 (dkt. no. 68-5).)

       The day after Ocular received the May 2017 Form 483, Ocular released its financial results

for the first quarter of 2017 in its May 5, 2017 Quarterly Report on Form 10-Q and issued a press

release that revealed that the FDA had completed inspections and that it had “received an FDA

Form 483 containing inspectional observations focused on procedures for manufacturing processes

and analytical testing, relating to manufacture of drug product for commercial production.”

(Compl. ¶ 86.)

       That same day, Ocular also had a conference call for investors to discuss its disclosures

and its operations. Defendant Ankerud, the Company’s Executive Vice President of Regulatory,

Quality, and Compliance, acknowledged the FDA’s recent inspection and the Company’s receipt

of the May 2017 Form 483, stating:



                                                     6
         Case 1:17-cv-12288-GAO Document 79 Filed 04/30/19 Page 7 of 20



        FDA completed the re-inspection of our facility as part of the NDA review late
        yesterday afternoon. As Amar mentioned, 4[8]3 was issued. We were pleased
        during the re-inspection that the FDA investigator was able to confirm our
        corrective action plan from prior observations, and indicated that there was no
        further follow-up necessary to close out those issues. This was a new investigator
        not the same investigator from prior inspections, and their primary focus in the
        4[8]3 relates to a particula[te] matter issue as part of our manufacturing process.
        The issue relates primarily to completion of an investigation that we have underway
        in regard to the particular[te] matter solidifying specifications for in process, 100%
        visual inspection of our inserts, as well as enhancing our operator training. We feel
        quite comfortable that we have the situation under control and we are preparing
        responses to the 4[8]3 as of this morning in anticipation of responding within 15
        calendar days to the agency. In addition to the particular matter issue, FDA raised
        a couple of observations in regard to analytical method, testing to be completed, as
        well as some other issue related to quality oversight of batch records. So in
        summary, we believe that each of the observations raised by FDA during this
        continuous improvement review of our fully developed manufacturing process are
        handled well and will be resolved in our response to FDA. We’re also pleased that
        the collaborative nature of our NDA review has continued between the various
        offices of FDA, and we’re marching toward that PDUFA date and expect that we
        can resolve the 4[8]3 issues in a timely manner.

(Compl. ¶ 75 (alterations and emphasis in original); accord Kolovos Decl., Ex. D at 8 (dkt. no. 68-

4).) 4 He also stated:

        I think there is two important issues to recognize. The first is that from the prior
        preapproval inspection, FDA issued a 4[8]3. We resolve those issues, close those
        issues with the district office and during this re-inspection the new investigator is
        responsible for confirming that we have implemented what was said in our
        responses. And the investigator went through each of our responses and confirm
        that we had properly and appropriately implemented those actions. So I think that’s
        a strong sign that the manufacturing process has moved forward significantly, and
        is in a fully developed mode.

(Compl. ¶ 77 (emphasis in original); accord Kolovos Decl., Ex. D at 13).)

        On the earnings call, Ankerud rejected the notion that the May 2017 Form 483 could delay

the PDUFA date. When asked by an analyst whether there was “anything in their observations that

[Sawhney] [thought] could delay the action date specifically,” Sawhney replied:


4
  The transcript indicates that Ankerud used the term “particular” rather than “particulate”
(Kolovos Decl., Ex. D at 8). That is likely a transcription error. When quoting the transcript, both
parties correct it in brackets to read “particula[te] matter.”
                                                      7
         Case 1:17-cv-12288-GAO Document 79 Filed 04/30/19 Page 8 of 20



       Nothing that we can currently see. I think these—as you know, probably 90% plus
       inspections have 483. The question is one of the nature of the issues in the 483, we
       think these are resolvable issues, and we have responses. Some are already prepared
       and some being prepared to address them in a timely fashion.

(Compl. ¶ 79 (emphasis in original); accord Kolovos Decl., Ex. D at 11.)

       On May 5, 2017, following Ocular’s press release, the Company’s share price fell $1.47,

or 16.15%, to close at $7.63.

       On July 6, 2017, the website Seeking Alpha published an article entitled “Ocular: A Poke

in the Eye.” The article provided links to the February 2016 Form 483 and May 2017 Form 483,

making the two forms public for the first time. The article described the content of the two forms

and stated:

       Even a layperson reading this [second Form 483] can tell that the company is
       having serious manufacturing issues, and their whole approach to manufacturing
       and patient safety is highly questionable. What’s more troubling is that either
       management doesn’t fully understand the letter, or they have been misleading
       investors. Both are bad.

(Compl. ¶ 60.) The article also noted that observations Ocular had received in February 2016 Form

483 were repeated in the May 2017 Form 483, and that the observations in the second form were

worse than the first. It noted, for instance, that one observation in the May 2017 Form 483 meant

“[i]n plain English” that Ocular “still doesn’t know how to make their product consistently.” (Id.

¶ 61.) It noted that the Company had stated that its manufacturing “in a fully developed mode,”

when the “reality is, IF Dextenza is possible to manufacture on a mass scale, something which

hasn’t been done before, [Ocular] needs to revamp their entire process from the ground up, which

can take years to do. They need to use the proper scientific tools and procedures.” (Id. ¶ 62.)

       That same day, another media outlet published an article about Ocular asserting that

Dextenza could be rejected by the FDA because of product contamination, including aluminum,

found during an FDA inspection of the manufacturing facility.


                                                     8
          Case 1:17-cv-12288-GAO Document 79 Filed 04/30/19 Page 9 of 20



         After the publication of the articles, Ocular’s share price fell $3.06, or 30.06%, over the

next two trading days, to close at $7.12 on July 7, 2017.

         On July 12, 2017, Ocular received a second Complete Response Letter from the FDA (the

“2017 CRL”), rejecting for the second time Ocular’s NDA for Dextenza in its then-present form.

(Id. ¶ 64.) The Company issued a press release announcing its receipt, explaining that the rejection

was based on “deficiencies in manufacturing processes and analytical testing relating to

manufacture of drug product for commercial production identified during a pre-NDA approval

inspection of the Ocular Therapeutix manufacturing facility that was completed in May 2017.” (Id.

¶ 90.)

         That same day, Ocular’s share price fell $.93, or 12.24%, to close at $6.67. 5

         On December 15, 2017, the Company received a subpoena from the SEC indicating that

the SEC was investigating the Company for its practices relating to Dextenza. As of the filing of

the lawsuit, Ocular’s NDA for Dextenza had not yet been approved but Ocular intended to resubmit

its NDA. 6

II.      Pleading Standard

         “Section 10(b) of the Securities Exchange Act of 1934 forbids the ‘use or employ, in

connection with the purchase or sale of any security . . . , [of] any manipulative or deceptive device

or contrivance in contravention of such rules and regulations as the [SEC] may prescribe as

necessary or appropriate in the public interest or for the protection of investors.’” Tellabs, Inc. v.

Makor Issues & Rights, Ltd., 551 U.S. 308, 318 (2007) (quoting 15 U.S.C. § 78j(b)) (alterations




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  Although the plaintiffs allege a loss connected to the press release on July 12, 2017, the class
period ends July 11, 2017.
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  At the hearing on the pending motion, counsel for the defendants represented that Dextenza has
since been approved.
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        Case 1:17-cv-12288-GAO Document 79 Filed 04/30/19 Page 10 of 20



and omission in original). In turn, SEC Rule 10b–5 implements § 10(b) by declaring it unlawful

“in connection with the purchase or sale of any security” to “make any untrue statement of a

material fact or to omit to state a material fact necessary in order to make the statements made, in

light of the circumstances under which they were made, not misleading.” 17 C.F.R. § 240.10b–5.

Thus, to state a claim for securities fraud under Section 10(b), a plaintiff must plead: “(1) a material

misrepresentation or omission; (2) scienter; (3) a connection with the purchase or sale of a security;

(4) reliance; (5) economic loss; and (6) loss causation.” In re Biogen Inc. Sec. Litig., 857 F.3d 34,

41 (1st Cir. 2017) (citing Fire & Police Pension Ass’n of Colo. v. Abiomed, Inc., 778 F.3d 228,

240 (1st Cir. 2015)).

        As with any motion to dismiss, the Court must accept all well-pled factual allegations as

true and draw all reasonable inferences in favor of the plaintiff. 7 See Tellabs, 551 U.S. at 322. To

survive a motion to dismiss, the complaint must contain “enough facts to state a claim to relief that

is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). As to allegations

of fraud in particular, “plaintiffs must also meet the heightened pleading requirements imposed by

the PSLRA, which requires plaintiffs to ‘specify each statement alleged to have been misleading

[and] the reason or reasons why the statement is misleading.’” In re Biogen, 857 F.3d at 41 (quoting

15 U.S.C. § 78u-4(b)(1)); see also Greebel v. FTP Software, Inc., 194 F.3d 185, 193 (1st Cir. 1999)

(describing the PSLRA’s pleading standard as congruent with the Circuit’s “notably strict and


7
  Additionally, the Court “must consider the complaint in its entirety, as well as other sources
courts ordinarily examine when ruling on Rule 12(b)(6) motions to dismiss, in particular,
documents incorporated into the complaint by reference, and matters of which a court may take
judicial notice.” See Tellabs, 551 U.S. at 322. The defendants in this case have attached various
press releases, SEC filings, and transcripts of investor calls to their motion to dismiss. The
plaintiffs do not contest the filing of these documents, and indeed, cites them in their opposition.
Consequently, this memorandum considers the uncontested documents. See id.; Brennan v.
Zafgen, Inc., 853 F.3d 606, 609–10 (1st Cir. 2017); N.J. Carpenters Pension & Annuity Funds v.
Biogen IDEC Inc., 537 F.3d 35, 38 (1st Cir. 2008).

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        Case 1:17-cv-12288-GAO Document 79 Filed 04/30/19 Page 11 of 20



rigorous” application of Rule 9(b) of the Federal Rules of Civil Procedure in securities fraud

actions).

       The PSLRA also imposes a “rigorous pleading standard” for allegations of scienter, which

encompasses a “mental state embracing intent to deceive, manipulate, or defraud.” Abiomed, 778

F.3d at 240 (quotations omitted). The PSLRA requires plaintiffs to “state with particularity facts

giving rise to a ‘strong inference’ that defendants” either “acted with a conscious intent ‘to deceive

or defraud investors by controlling or artificially affecting the price of securities’ or ‘acted with a

high degree of recklessness.’” Id. “An inference of scienter is ‘strong’ if ‘a reasonable person

would deem [it] cogent and at least as compelling as any opposing inference one could draw from

the facts alleged.” Id. (quoting Tellabs, 551 U.S. at 324). “This standard may be met by ‘clear

allegations, internal records, or witnessed discussions suggesting that at the time they made the

statements claimed to be misleading, the defendants were aware that they were withholding vital

information,’ or by a combination of ‘various other facts and circumstances indicating fraudulent

intent, including those demonstrating motive and opportunity.’” Mahoney v. Found. Med., Inc.,

342 F. Supp. 3d 206, 213 (D. Mass. 2018) (quoting Brennan, 853 F.3d at 614 (internal quotations

and citations omitted)). “When there are equally strong inferences for and against scienter, the

draw is awarded to the plaintiff.” Abiomed, 778 F.3d at 241 (quoting City of Dearborn Heights

Act 345 Police & Fire Ret. Sys. v. Waters Corp., 632 F.3d 751, 757 (1st Cir. 2011)). “[S]cienter

should be evaluated with reference to the complaint as a whole rather than to piecemeal

allegations.” Id. (quoting ACA Fin. Guar. Corp. v. Advest, Inc., 512 F.3d 46, 59 (1st Cir. 2008)).




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        Case 1:17-cv-12288-GAO Document 79 Filed 04/30/19 Page 12 of 20



III.   Discussion

       The defendants move to dismiss the complaint, arguing that the plaintiffs fail to allege an

actionable misstatement or omission and that the allegations of the complaint do not support a

strong inference of scienter.

       A.      Actionable Misstatement or Omission

                       Challenged cGMP Statements on the 2016 and 2017 Forms 10-K

       The plaintiffs allege that the Company’s attestations on its 2016 and 2017 Forms 10-K that

it fabricates devices and drug depot products for its therapeutic product candidates “using current

good manufacturing practices, or cGMP, at [its] multi-product facility in Bedford, Massachusetts”

were materially false and misleading because the Company was not in fact in compliance with

cGMP at the time the representations were made. As evidence for the statements’ falsity, the

plaintiffs rely primarily on the February 2016 Form 483, arguing that the defendants were informed

about the Company’s cGMP non-compliance prior to filing its 2016 Form 10-K.

       Apart from the fact that the statements in the Forms 10-K were general statements

untethered to any particular drug or investigation, the plaintiffs’ factual allegations do not plausibly

suggest that the Company’s statements or omissions were materially false or misleading at the

time they were made. The problem is that the statement about using cGMP is too general to do the

specific work plaintiffs would like it to do. It is essentially a statement of the standards that the

Company is guided by in designing and operating its manufacturing processes, much as a financial

statement might say that it was prepared in accordance with generally accepted accounting

practices. Neither statement should fairly be understood as a warranty that there have never been

any instances of deviation from the standards. Rather, what is necessary are allegations of specific

factual circumstances that show a deviation from the standard.


                                                      12
        Case 1:17-cv-12288-GAO Document 79 Filed 04/30/19 Page 13 of 20



       The plaintiffs do not allege any contemporaneous facts, such as emails, internal documents,

or reports, to demonstrate that the Company in fact did not “us[e] current good manufacturing

practices.” Instead, they rely primarily on the Forms 483 to allege falsity. But, as those forms

themselves state, the Forms 483 reflect only “inspectional observations” by the FDA

representative, and “do not represent a final Agency determination regarding . . . compliance.”

(Kolovos Decl., Ex. E at 2; Second Kolovos Decl., Ex. A at 2.) See In re Genzyme Corp. Sec.

Litig., 754 F.3d 31, 42 (1st Cir. 2014) (describing “advisory language that accompanies all Forms

483, to the effect that the circumstances noted therein are merely observational in nature, and do

not represent the FDA’s final word”). And specifically, the particulate matter highlighted by the

plaintiffs was not raised with the Company until the FDA’s May 2017 Form 483—after both

challenged statements in the Forms 10-K. 8

       In any event, the challenged statements about compliance with cGMP cannot be considered

in isolation. It appears undisputable that the Company promptly disclosed its receipt of the two

Forms 483. Ocular disclosed the receipt of the February 2016 Form 483 a month later in its 2016

Form 10-K, the very same filing the defendants contend contains an actionable statement about

cGMP. In that filing, the Company stated:

       [I]n February 2016, as part of the ongoing review of our NDA for DEXTENZA,
       the FDA conducted a pre-NDA approval inspection of our manufacturing
       operations. As a result of this inspection, we received an FDA Form 483 containing
       inspectional observations focused on process controls, analytical testing and
       physical security procedures related to manufacture of our drug product for stability
       and commercial production purposes. We addressed some observations before the
       inspection was closed and have responded to the FDA with a corrective action plan
       to complete the inspection process. . . . Any failure to comply with applicable
       regulations may result in fines and civil penalties, suspension of production,
       product seizure or recall, imposition of a consent decree, or withdrawal of product


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  Relatedly, allegations that the later issuance of the CRLs by the FDA show that these earlier
generic statements were false or misleading amount to “fraud by hindsight,” which has long been
rejected as a basis for liability.
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        Case 1:17-cv-12288-GAO Document 79 Filed 04/30/19 Page 14 of 20



        approval, and would limit the availability of [our product] and our product
        candidates that we manufacture. The failure to resolve the Form 483 inspectional
        observations from the February 2016 inspection could result in a delay in the
        PDUFA date and potential approval for the NDA we have filed for DEXTENZA
        for the treatment of post-surgical ocular pain.

(Compl. ¶ 43; Kolovos Decl., Ex. A at 93.) Similarly, with respect to the May 2017 Form 483,

Ocular issued a press release the next day disclosing its receipt, stating that the form contained

“inspectional observations focused on procedures for manufacturing processes and analytical

testing, relating to manufacture of drug product for commercial production.” (Compl. ¶ 86.) It

reported in its quarterly Form 10-Q on that date its plan to evaluate the observations and respond

to the FDA with corrective action plans to complete the inspection process, and cautioned that

“[a]dequate resolution of the outstanding Form 483 inspectional observations . . . is a prerequisite

to the approval of the NDA.” (Kolovos Decl., Ex. F at 31.) In the earnings call that same day,

Ankerud disclosed that the primary focus of the May 2017 Form 483 related to a “particula[te]

matter issue as part of [its] manufacturing process,” the FDA’s so-called “bombshell finding.” 9

(Kolovos Decl., Ex. D at 8; Compl. ¶ 50.) If a reader were disposed to understand the general

statement about cGMP as an assurance that the manufacturing process was free of defect, the

specific disclosure of the receipt of the Forms 483 would have given the reader pause in persisting

in that disposition.

        The plaintiffs also take issue with the depth of information the company provided in their

disclosures. They point to the share price drop after the publication of the Seeking Alpha report as

evidence. The report, however, included not just factual information as to the details of the Forms

483, but also the publication’s subjective and fairly colorful gloss on what the Forms meant. A


9
  The plaintiffs also contend that their confidential witness supports the falsity of the cGMP
statement in 2017 Form 10-K. However, the plaintiffs have failed to allege a sufficient link
between Ankerud’s purported isolated admission about unspecified “batch records” months before
the challenged cGMP statement on the 2017 Form 10-K to render the cGMP statement false.
                                                    14
        Case 1:17-cv-12288-GAO Document 79 Filed 04/30/19 Page 15 of 20



company need not disclose immediately all information that “might conceivably affect stock

prices.” See In re Bos. Sci. Corp. Sec. Litig., 686 F.3d 21, 27 (1st Cir. 2012); accord In re Genzyme,

754 F.3d at 44 (“[A] corporation cannot be expected to inform the market of any and all

developments that might possibly affect stock value.”); Ganem v. InVivo Therapeutics Holdings

Corp., 845 F.3d 447, 457 (1st Cir. 2017) (“The securities laws do not make it unlawful for a

company to publicize an aggressive timeline or estimate for a proposed action without disclosing

every conceivable stumbling block to realizing those plans.”). “[T]he burden and risks to

management of an unlimited and general obligation would be extreme and could easily

disadvantage shareholders in numerous ways.” In re Bos. Sci., 686 F.3d at 27–28.

                       Challenged Statement from November 9, 2016 Earnings Call

       The plaintiffs claim that Sawhney’s statement during the November 9, 2016 call that

“we’ve adequately we think addressed the issues that [the FDA] raised” was materially misleading

because the Company misrepresented the nature and extent of the inspection deficiencies, omitted

material negative facts regarding Ocular’s manufacturing, and concealed material risks to Ocular’s

business. They argue that, to the extent that the statement was an opinion, it is nevertheless

actionable because the information in Ocular’s possession at the time regarding outstanding

manufacturing deficiencies did not “fairly align” with the statement that it had resolved those

deficiencies. See Omnicare, Inc. v. Laborers Dist. Council Constr. Indus. Pension Fund, 135 S. Ct.

1318, 1329 (2015).

       Sawhney’s statement is a protected statement of opinion. Sawhney prefaced his statement

with “we think,” signaling to investors that his statement was an opinion and not a guarantee. See

Cody v. ConforMIS, Inc., 199 F. Supp. 3d 409, 419 (D. Mass. 2016) (“The statement appears to

be an unvarnished opinion. Indeed, that is likely why ‘we believe’ was used, and a reasonable


                                                     15
        Case 1:17-cv-12288-GAO Document 79 Filed 04/30/19 Page 16 of 20



investor would understand that.”) Although statements of opinion or belief can be misleading, the

plaintiffs have not adequately alleged that Sawhney did not in fact hold the stated opinion or

omitted material facts that would lead an investor to doubt its reliability. See Omnicare, 135 S. Ct.

at 1328–29; see also Sousa v. Sonus Networks, Inc., 261 F. Supp. 3d 112, 119 (D. Mass. 2017);

ConforMIS, Inc., 199 F. Supp. 3d at 419 (D. Mass. 2016). The earnings call took place four months

after Ocular had received the 2016 CRL, a time period during which Ocular had responded to the

FDA and was engaged in ongoing conversations with regulators. Sawhney reminded the call

participants that Ocular had received the 2016 CRL relating to manufacturing deficiencies, and he

cautioned that the FDA would make a determination as to whether the Company had taken

appropriate steps to address manufacturing-related issues after it resubmitted the NDA. Sawhney

also noted that the FDA seemed to be “in broad agreement” with the Company’s corrective plans

that it had communicated to the FDA, in apparent reference to a letter Ocular had received from

the FDA in the late summer “noting that the corrective actions detailed in the Company’s responses

as a whole appear to address the ten inspectional observations raised in the Form 483 with one

exception.” (Kolovos Decl., Ex. C at 6 (dkt. no. 68-3).) The plaintiffs have failed to plead that

Sawhney’s opinion did not “fairly align” with the information Ocular was aware of at the time or

that the opinion was not honestly held by Sawhney. See Omnicare, 135 S. Ct. at 1329.

                       Challenged Statement from May 5, 2017 Earnings Call

       The plaintiffs challenge the statement made during the May 5, 2017 conference call that

the Company “expect[ed]” to be able to resolve the problems identified in the May 2017 Form 483

“in a timely manner.” (Kolovos Decl., Ex. D at 8.) They contend the statement was false and

misleading because the defendants “knew, but failed to disclose, that the timing of the FDA




                                                     16
        Case 1:17-cv-12288-GAO Document 79 Filed 04/30/19 Page 17 of 20



approval was in serious jeopardy because of the repeated unresolved observations outlining serious

deficiencies in Ocular’s manufacturing process of Dextenza.” (Pls.’ Opp’n 18.)

       Ocular’s statement that it expected to be able to resolve the issues identified on the May

2017 Form 483 in a “timely manner” is protected under the PSLRA’s safe harbor provision. The

PSLRA’s “safe harbor” provision, 15 U.S.C. § 78u–5, “sharply limit[s] liability of companies and

their management for certain ‘forward-looking statements,’ . . . when such statements are

accompanied by appropriate cautionary language.” In re Smith & Wesson Holding Corp. Sec.

Litig., 669 F.3d 68, 71 n.3 (1st Cir. 2012). Here, the Company’s statement about its ability to

resolve the problems identified in the May 2017 Form 483 in a timely manner was clearly a

forward-looking forecast about a future event. Additionally, it was accompanied by appropriate

cautionary language. At the outset, the Company stated:

       As a reminder, during today’s call, we will be making certain forward-looking
       statements. Various remarks that we make during the call about the company’s
       future expectations, plans and prospects do -- these do constitute forward-looking
       statements for purposes of the Safe Harbor provisions under the Private Securities
       Litigation Reform Act of 1995.

       Actual results may differ materially from those indicated by these forward-looking
       statements as a result of various important factors, including those discussed in the
       Risk Factors section of our most recent annual report or our actual report on Form
       10-Q which was filed earlier this morning with the SEC. In addition, any forward-
       looking statements represent our views only as of today and should not be relied
       upon as representing our views as of any subsequent date. While we may elect to
       update these forward-looking statements at some point in the future, we specifically
       disclaim any obligation to do so, even if our views change.




                                                    17
        Case 1:17-cv-12288-GAO Document 79 Filed 04/30/19 Page 18 of 20



(Kolovos Decl., Ex. D at 1.) 10 Additionally, more specifically, Sawhney discussed the Form 483

and accurately cautioned that “timely resolution of the 483 observations is a prerequisite to keep

the PDUFA date on track.” 11 (Id. at 2.)

       B.      Scienter

       The defendants also contend that even if the plaintiffs have adequately alleged an

actionable false or misleading statement, the claims nevertheless still fail because the plaintiffs do

not plead facts supporting a strong inference of scienter. The plaintiffs counter, claiming that the

defendants knew about and recklessly disregarded the FDA’s observations from the Forms 483

and their importance to the Dextenza NDA. They also argue that a Dextenza-related SEC

investigation and the core operations doctrine further support a strong inference of scienter. Those

contentions are non sequitors. The defendants knew about the 483s and disclosed them. There are

no particular facts alleged to support the “reckless disregard” allegation. It is plain the defendants

did not disregard the FDA’s observations; they talked about them. The lone fact of an SEC

investigation after the challenged statements proves nothing about scienter at the time of the

statements. See Godinez v. Alere Inc., 272 F. Supp. 3d 201, 219 (D. Mass. 2017) (stating that “the

existence of a subpoena does not, without more, give rise to a strong inference of scienter on the




10
   The referred to Form 10-Q included in its Risk Factors a description of the Dextenza-related
FDA interactions, including the 2016 CRL, the new NDA, and the May 2017 Form 483, and
cautioned specifically that “[a]dequate resolution of the outstanding Form 483 inspectional
observations . . . is a prerequisite to the approval of the NDA for Dextenza” and that if “we are
unable to resolve these inspectional observations in a timely manner, potential approval of the
NDA would be delayed or prevented.” (Kolovos Decl., Ex. F at 83–85); accord id. at 63.)
11
   At the hearing on the present motion, the plaintiffs briefly mentioned two other statements from
the call. The first, regarding whether the Company envisioned a delay of the PDUFA, is not
actionable for the same reason the statement about timeliness is not. The second, referring to
Ocular’s “fully developed manufacturing process,” was made in the context of its disclosure of
the Form 483 and the Company’s effort to address the issues raised by the FDA. It is clear from
context that “fully developed” was not a representation that it was “flawlessly developed.”
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        Case 1:17-cv-12288-GAO Document 79 Filed 04/30/19 Page 19 of 20



part of senior management.”) The core operations argument is nothing more than a rhetorical

flourish, without supporting factual allegations. “Courts have been hesitant to apply significant

weight to ‘core operations’ allegations without other significant evidence of a defendant’s intent

or recklessness, or a ‘plus factor’.” Metzler Asset Mgmt. GmbH v. Kingsley, 305 F. Supp. 3d 181,

219 (D. Mass. 2018) (quoting In re A123 Sys., Inc. Sec. Litig., 930 F. Supp. 2d 278, 285 (D. Mass.

2013)). Here, the plaintiffs do not allege a “plus factor” with respect to statements about cGMP

compliance. See In re Psychemedics Corp. Sec. Litig., No. CV 17-10186-RGS, 2017 WL 5159212,

at *6 (D. Mass. Nov. 7, 2017) (finding that the plaintiff’s “core operations” theory “[stood] naked,

unadorned by any other piece of evidence purporting to establish the essential ‘plus’ factor—guilty

knowledge”).

       The plaintiffs make too much of the Individual Defendants’ optimism by making

conclusory allegations about Ocular’s capacity to address the FDA’s concerns. (See, e.g., Pls.’

Opp’n 22 (“The nature of these deficiencies was such that timely remedy would have been a

tremendous undertaking for Ocular, and rendered the FDA’s approval of an NDA for, and thus

future of, Dextenza unlikely and uncertain.”).) They repeat allegations about the falsity of the

statements, but ignore the disclosures about the Forms 483 made by the Company which

undermine an inference of an intent deceive, see, e.g., In re Genzyme, 754 F.3d at 42–43, and

overlook the progress the Company appears to have made in addressing the FDA’s concerns, even

from the FDA’s perspective. 12




12
   Further negating an inference of scienter is Sawhney’s own purchase of shares during the class
period. See Abiomed, 778 F.3d at 246. One might reasonably take that as a sign of his confidence
in Ocular’s ability to respond to FDA criticisms. One might not reasonably take it that he thought
the Company was in such trouble that he had to feed the market misleading news.
                                                    19
        Case 1:17-cv-12288-GAO Document 79 Filed 04/30/19 Page 20 of 20



IV.    Claims against Individual Defendants

       Section 20(a) provides for derivative liability by control persons for violations of the

Exchange Act committed by others. Because the complaint fails to allege an underlying violation

of the securities law, the derivative Section 20(a) claims also fail. See ACA Fin., 512 F.3d at 67–

68.

V.     Conclusion

       For the foregoing reasons, the defendants’ Motion to Dismiss the Consolidated Amended

Class Action Complaint (dkt. no. 66) is GRANTED, and the case is DISMISSED.

       It is SO ORDERED.

                                                     /s/ George A. O’Toole, Jr.
                                                     United States District Judge




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